United States District Court
DISTRICT OF NEW HAMPSHIRE

United States of America
Vv.

Jan Freeman

CASE NUMBER: 1:21-cr-00041-JL-01
RESPONSE TO GOVERNMENT’S OBJECTION

The Government’s overstated opening paragraph of their objection presumes that they
have already gone to trial, called dozens of witnesses and produced compelling evidence. Their
journey has not yet left the starting line. To proclaim that Ian Freeman is a “sophisticated
criminal” when no trial has taken place and when the Government is aware that he has nothing
but a minor misdemeanor criminal history borders on absurdity.

The Government fails to express the reality that Freeman was never advised by any
governmental authority to cease and desist his activity. Freeman openly operates his business
and was aware of federal investigations. No banking authority, whether it be State or Federal
interfered with the activity engaged in.

With regard to “disclosures made to probation,” Freeman answered the questions that
were asked. At no time was a work sheet presented to him. At no time was there any question
posed that referred specifically to cryptocurrency possession he would have under his control.

The Government is keenly aware that Freeman is a non-violent man that has never failed
to appear when required for any Court proceeding.

With regard to the standard of review: conditions can be set for Jan Freeman that would
guarantee his appearance and the safety of himself and the community.

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1. The offense is not an offense where there is a presumption of Pre-Trial Detention.
It is a non-violent financial offense.

2. The Government claims it has overwhelming evidence of guilt even though the
U.S. Attorney’s Office has never presented a cryptocurrency case in this district.

3. The history and characteristics of Ian Freeman are that he has a misdemeanor
criminal history and has lived openly and operated openly in the Keene, NH area for over fifteen
(15) years.

4. He poses no danger to the community, a fact the Government is aware of as he
has been the focus of their investigation for least least five (5) years without any agency
requesting formally or informally for him to cease and desist his activity or the activity of the
Shire Free Church.

In essence, the Government’s objection is a laundry list of prosecution theories yet to be
presented by witnesses and tested by cross examination.

The Government continues to emphasize Freeman’s convictions. The obstruction
conviction was him standing in front of a Keene Police cruiser during and after a protest. The
resisting arrest does not exist as he was found not guilty by a Cheshire County jury on that minor
misdemeanor.

This Court has allowed four (4) co-defendants to remain at liberty while preparing for
and awaiting trial. Certainly, conditions can be tailored for Mr. Freeman, if such a task was
accomplished for the individuals allowed to enjoy the presumption of innocence. The
Government has projected an April or May 2022 trial date. That means keeping a non-violent
man locked up for over a year on a financial offense when he has no history of failing to appear.

Such a request is unwarranted and unsubstantiated.
Additionally, Freeman has been involved in his community as a substantial supporter of
the Hundred Nights homeless shelter (see Attached letter as Attachment “A”). Many may
disagree with his policies, his involvement in the Shire Free Church, his exercise of his 1
Amendment Rights as set forth in his radio shows or his cryptocurrency activity. None of these
aspects of his life should deny him the ability to be at liberty now in order to prepare with his
attorney for trial; a trial anticipated to be “complex” with over 100,000 documents for review. A
trial that will be the first of its kind in the District of New Hamp§ pi re.

April 23, 2021 WA f- —_

 

 

Date Signature" 7
Mark L. Sisti
Print Name
387 Dover Road
Address
Chichester, NH _03258
City State Zip Code
(603) 224-4220
Phone Number

CERTIFICATION

I hereby certify that a copy of this appearance was forwarded to Assistant United States
Attorneys Georgiana MacDonald, Seth Aframe, and John Kennedy, electronically through EFC
on April 23, 2021.

April 23, 2021
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Date Signatuke SL

Mark L. Sisti
Print Name
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Attachment “A”
Case 1:21-cr-00041-JL Document 50 Filed 04/23/21 Page 5of9

PO. Box 833

17 Lamson Street

HUNDRED NIGHTS a
[ N C = (603) 352-5197

www.hundrednightsinc.org
Tax ID: XX-XXXXXXX

Emergency Shelter & Open Doors Resource Center

Mark Sisti
Sisti Law Offices

info@sistilawoffices.com

Dear Mr. Sisti,

| am writing to provide you, and the court, with some information about the relationship that
Hundred Nights has had over the years with lan Freeman.

Hundred Nights, Inc. is a non-profit in Keene, NH, that provides emergency shelter and housing
focused case management for those at risk of or experiencing homelessness. We were founded
in 2010. 1 came on board as Executive Director in 2013.

At that time, in 2013, | discovered that there were several donors already established as
monthly donors through the PayPal portal. Mr. Freeman was one of them; he began donating
$10.00 per month in January, 2013, and he has continued to be a monthly donor through the
present time.

Mr. Freeman was also one of the first general operating support donors to Hundred Nights,
giving $500.00 on November 8, 2010, $700.00 on December 23, 2010, $500.00 on March 18,
2013 and $500.00 on August 3, 2013. He then became an event sponsor of our Annual Spring
Dance with donations of $1,000.00 on December 9, 2013, January 23, 2015 and January 14,
2016.

In addition to all of the above, Mr. Freeman donated items to our December Annual Holiday
Auction on two occasions in 2017 and 2018.

Please see that attached printout from our Little Green Light Donor Data Base for confirmation
of the above amounts.

Best Regards,

7 « n N\
Mindy Cambiar
Executive Director

The mission of Hundred Nights, inc. is to provide shelter and crisis related services to the displaced or homeless, Our goal is to collaborate
with and enable the community to see, hear and support those among us who are equally deserving of dignity but who currently lack
the means to live independently. Our vision is a community whose members, regardless of means, are equally valued and supported.

 
Hundred Nights Inc

FreeTalkLive-202 | -04-23.pdf
Organization details: Free Talk Live

Constituent Giving History

Printed on: 4/23/21

Giving summary

Total $6,210

Largest $1,000 gift on 12/9/13

Last $10 gift on 4/4/21

First $500 gift on 11/8/10

Gifts 109 / $6,210

Status Active Donor, Top 100 Donor
Goals

Not available

 

LGL ID
Free Talk Live 946792
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Mobile: (603) 852-8118 lan
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Full Gift History
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